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                            IN THE UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF INDIANA
                                    INDIANAPOLIS DIVISION

   ___________________________________________

   IN RE COOK MEDICAL, INC., IVC FILTERS
   MARKETING, SALES PRACTICES AND                                 Case No. 1:14-ml-2570-RLY-TAB
   PRODUCTS LIABILITY LITIGATION                                  MDL No. 2570
   ___________________________________________

   This Document Relates to the Following Actions:

   1:19-cv-02692; 1:19-cv-03297; 1:16-cv-01068; 1:19-cv-03755;
   1:19-cv-02623; 1:19-cv-02893; 1:19-cv-02728; 1:19-cv-03228;
   1:19-cv-03918; 1:19-cv-02825; 1:19-cv-03792;
   and 1:19-cv-02541.
   ___________________________________________________

                          MOTION TO DISMISS DUPLICATIVE FILINGS

            The defendants, Cook Incorporated, Cook Medical LLC, and William Cook Europe ApS

   (collectively, “Cook”), respectfully request that the Court dismiss 12 pending duplicative cases.

   In support of this Motion, Cook states:

            1.       At present, 12 plaintiffs have filed more than one action pending in this MDL

   alleging identical claims and injuries. Specifically, the plaintiffs in the caption above have filed

   duplicate lawsuits in this MDL:

                            •   naming identical defendants;
                            •   asserting identical claims; and
                            •   asking for identical relief.

            2.       The only thing that is not identical between these duplicative actions are the

   attorneys listed as representing these plaintiffs. In each of these 12 cases, different attorneys have

   filed separate but identical complaints on behalf of the same plaintiff. Attached as Exhibit A is a

   chart listing each plaintiff who has duplicate cases pending, the case numbers of each of those

   cases, and the names of the attorneys who filed each of the cases. For the convenience of the


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   Court, attached as Exhibit B is chart listing the later-filed of all the duplicate cases appearing on

   Exhibit A.

            3.       Before filing this motion, counsel for Cook sent emails to all counsel representing

   plaintiffs with duplicate actions pending to alert them that multiple actions had been filed on behalf

   of their clients. Cook requested that counsel for these plaintiffs confer with each other and, within

   4 days of Cook’s email, dismiss one of the pending cases for each plaintiff. Cook’s email to

   counsel is attached as Exhibit C.

            4.       As this Court has noted, a litigant “has no right to maintain two separate actions

   involving the same subject matter at the same time in the same court against the same defendant.”

   (Young, J.) Telamon Corporation v. Charter Oak Fire Insurance Company, 2016 WL 67297, at

   *3 (S.D. Ind. 2016) (quoting Dorsey v. Jacobson Holman PLLC, 764 F. Supp. 2d 209, 213 (D.D.C.

   Cir. 2011). A suit may be dismissed for reasons of wise judicial administration “whenever it is

   duplicative of a parallel action pending in another federal court.” Serlin v. Arthur Andersen & Co.,

   3 F.3d 221, 223 (7th Cir. 1993).

            5.       A suit is duplicative “when the claims, parties and available relief do not

   significantly differ between the two actions.” Serlin, 3 F.3d at 223. “This is all the more true

   where, as here, the two cases are pending before the same judge.” McCracken v. Grand Victoria

   Casino & Resort, 2002 WL 31521165, at *2 (S.D. Ind. 2002).

            6.       Generally, where two similar actions are filed, judicial economy allows only the

   first-filed case to proceed. See Serlin, 3 F.3d at 223. In Serlin, the same plaintiff sued the same

   defendant for common law fraud (among other things) twice in the Northern District of Illinois.

   Id. 222. The trial court held that the plaintiff’s second complaint was duplicative of the plaintiff’s

   first complaint – “identical in all material respects” – and granted the defendant’s motion to



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   dismiss. Id. at 223. The Seventh Circuit affirmed the trial court’s order. The Seventh Circuit

   quoted Ridge Gold Standard Liquors v. Joseph E. Seagram for the “chief reason” to dismiss the

   duplicative complaint:

            The irrationality of tolerating duplicative litigation in the federal system is all the
            more pronounced where, as here, two federal judges sitting on the same district
            court are ... devoting scarce judicial resources to the adjudication of the same
            charges by essentially the same plaintiffs against the same defendants.

   Serlin, 3 F.3d at 224 (quoting Ridge Gold Standard Liquors v. Joseph E. Seagram, 572 F.Supp.

   1210, 1213 (N.D. Ill. 1983).

            7.       Here, all these duplicate cases involve identical claims made by identical plaintiffs

   against identical defendants and seek identical relief in front of the same judge in the same court.

            8.       Cook requests that the Court dismiss all later-filed, duplicate cases listed in Exhibit

   B.

            WHEREFORE, Cook respectfully requests that the Court dismiss the above-captioned

   matters, and for all other just and appropriate relief.




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   Dated: October 29, 2019

                                          Respectfully Submitted,

                                          /s/ Andrea Roberts Pierson
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                                    CERTIFICATE OF SERVICE

            I hereby certify that on October 29, 2019, a copy of the foregoing Motion to Dismiss

   Duplicative Filings was filed electronically, and notice of the filing of this document will be sent

   to all parties by operation of the Court’s electronic filing system to CM/ECF participants registered

   to receive service in this matter. Parties may access this filing through the Court’s system.



                                                 /s/ Andrea Roberts Pierson




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